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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


ERIKA KESSLER,

              Plaintiff,
                                                   CIVIL NO. 15-12735
              V.                                   HON. SEAN F. COX

NAVIENT SOLUTIONS f/ka SALLIE
MAE INC.,

              Defendant.
                              /

                                  ORDER OF DISMISSAL

      Upon review of the notice of voluntary dismissal filed by Plaintiff on December 21, 2015

(D/E 10);

       IT IS HEREBY ORDERED that the above captioned matter is DISMISSED.


                                    s/Sean F. Cox
                                    Sean F. Cox
                                    United States District Judge

Dated: January 8, 2016

I hereby certify that a copy of the foregoing document was served upon counsel of record on
January 8, 2016, by electronic and/or ordinary mail.

                                    s/Jennifer McCoy
                                    Case Manager
